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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION


                                                      )
United States of America,                             )       Case No. 3:13cr41
                                                      )
                Plaintiff,                            )
                                                      )
       -v-                                            )       Report & Recommendation
                                                      )
Latoya Batey,                                         )
                                                      )
                Defendant.                            )
                                                      )


       Pursuant to General Order 99-49, this matter having been referred to United States Magistrate

Judge Armstrong for purposes of receiving, on consent of the parties, the defendant’s offer of a plea

of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11, causing a verbatim record of the

proceedings to be prepared, referring the matter, if appropriate, for pre-sentence investigation, and

submitting a Magistrate Judge’s Report and Recommendation stating whether the plea should be

accepted and a finding of guilty entered, the following, along with the transcript or other record of the

proceedings submitted herewith, constitutes the Magistrate Judge’s Report and Recommendation

concerning the plea of guilty proffered by the defendant.

       1.       On November 15, 2013 defendant, accompanied by counsel, proffered a plea of guilty.

       2.       Prior to such proffer, the defendant was examined as to his competency, advised of the

                charge and consequences of conviction, informed that the court may be required to give
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               consideration to the advisory Federal Sentencing Guidelines and of the possibility of a

               departure from the guidelines, notified of his rights, advised that he was waiving all her

               rights except the right to counsel, and, if such were the case, her right to appeal, and

               otherwise provided with the information prescribed in Fed. R. Crim. P. 11.

       3.      The parties and counsel informed the court that no plea agreement was executed by the

               parties, and government counsel represented that no plea offers were made to defense

               counsel; the undersigned was advised further that no commitments or promises have

               been made by any party, and no agreements, written or unwritten, have been made

               between the parties.

       4.      The undersigned questioned the defendant under oath about the knowing, intelligent, and

               voluntary nature of the plea of guilty, and finds that the defendant’s plea was offered

               knowingly, intelligently, and voluntarily.

       5.      The parties provided the undersigned with sufficient information about the charged

               offense(s) and the defendant’s conduct to establish a factual basis for the plea.

       In light of the foregoing and the record submitted herewith, the undersigned finds that the

defendant’s plea was knowing, intelligent, and voluntary, and that all requirements imposed by the

United States Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the undersigned

recommends that the plea of guilty be accepted and a finding of guilty be entered by the court.



                                                       s/ Vernelis K. Armstrong 11/15/2013
                                                       Vernelis K. Armstrong
                                                       United States Magistrate Judge




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                                                 Notice



          Please take notice that as of this date the Magistrate's Report and Recommendation attached

hereto has been filed.

          Please be advised that, pursuant to rule 5.3(b) of the Local Rules for this District, the parties

have 14 days after being served in which to file objections to said Report and Recommendation. A

party desiring to respond to an objection must do so within 14 days after the objection has been

served.

          Please be further advised that the Sixth Circuit Court of Appeals, in United States v. Walters

638 F.2d 947 (6th Cir. 1981) held that failure to file a timely objection to a Magistrate's Report and

Recommendation foreclosed appeal to the Court of Appeals. In Thomas v. Arn, 474 U.S. 140

(1985), the Supreme Court upheld that authority of the Court of Appeals to condition the right of

appeal on the filing of timely objections to a Report and Recommendation.




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